DATE: April 2, 2024


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Smith Development Inc.
             v. Martin C. Conway, et al.
             Record No. 1245-22-4
             Opinion rendered by Judge Raphael on
              January 9, 2024

          2. Markees Gross, s/k/a Markees A. Gross
             v. Commonwealth of Virginia
             Record No. 1043-22-2
             Opinion rendered by Judge Beales on
              January 23, 2024

          3 Shannon B. Boyette
             v. Carrie E. Sprouse
             Record No. 1278-22-2
             Opinion rendered by Judge Fulton on
              January 23, 2024

          4. James, D. Shaw, a/k/a Roscoe James Shaw
              v. Commonwealth of Virginia
              Record No. 1349-22-4
              Opinion rendered by Judge Raphael on
               January 23, 2024

          5. Fatima Shaw-McDonald
             v. Eye Consultants of Northern Virginia, P.C., et al.
             Record No. 0067-23-4
             Opinion rendered by Judge Raphael on
              January 30, 2024

          6. David W. Fauber
             v. Town of Cape Charles, et al.
             Record No. 0366-23-1
             Opinion rendered by Judge Raphael on
              January 30, 2024
7. John B. Russell, Jr.
    v. Commonwealth of Virginia
    Record No. 0822-2-2
    Opinion rendered by Judge Callins on
     January 30, 2024

8. Dustin Lee Hamilton
   v. Commonwealth of Virginia
   Record No. 1367-22-1
   Opinion rendered by Judge Beales on
    February 6, 2024

9. Lawrence W. Nalls, III
   v. Commonwealth of Virginia
   Record No. 1536-22-1
   Opinion rendered by Judge Athey on
    February 6, 2024

10. Rhoda Faye Welch
    v. Commonwealth of Virginia
    Record No. 1985-22-3
    Opinion rendered by Judge Friedman on
     February 6, 2024

11. Anne Edwards Hartley, et. al.
    v. Board of Supervisors of Brunswick County, Virginia
    Record No. 1298-22-2
    Opinion rendered by Judge Ortiz on
     February 13, 2024

12. Robert Marshall Cornelius
    v. Commonwealth of Virginia
    Record No. 0187-23-3
    Opinion rendered by Judge Huff on
     February 13, 2024
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Shaquawn Demonte Warren
   v. Commonwealth of Virginia
   Record No. 0533-22-1
   Opinion rendered by Judge Humphreys
      on March 7, 2023
    Judgment of Court of Appeals affirmed by published order on March 14, 2024
     (230248)

2. United Services Automobile Association
   v. Bruce A. Estep
   Record No. 0391-22-1
   Opinion rendered by Judge Friedman
     on March 14, 2023
   Judgment of Court of Appeals affirmed by published order on March 14, 2024
    (230323)

3. Edgar Alexander Diaz-Urrutia
   v. Commonwealth of Virginia
   Record No. 0502-22-4
   Opinion rendered by Judge Humphreys
     on April 4, 2023
   Refused (230364)
